       Case 1:18-cv-09936-LGS-SLC Document 43 Filed 11/09/18 Page 1 of 2


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                                                     November 9, 2018


BY ECF

Honorable Lorna G. Schofield
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

              Jane Doe, et al. v. The Trump Corporation, et al., 18-cv-09936 (LGS)

Dear Judge Schofield:

        Spears & Imes LLP, counsel for Defendants, respectfully submits this letter pursuant to
Rule I.B.2 of the Court’s Individual Rules and Procedures for Civil Cases on behalf of all parties
to jointly request that the Court modify certain existing deadlines in this matter.

       The parties request that the schedule for remaining briefing on Plaintiffs’ Motion for
Leave to Proceed Under Pseudonyms (ECF No. 30) be modified as follows: (1) the deadline for
Defendants to submit an opposition to Plaintiffs’ motion will be extended from November 13,
2018 until November 30, 2018; and (2) the deadline for Plaintiffs to submit a reply in support of
their motion will be extended from November 20, 2018 until December 14, 2018.

        The parties also request that the deadline for Defendants to answer or otherwise respond
to the complaint be extended from November 20, 2018 until December 10, 2018. Should
Defendants choose to submit a pre-motion letter for a motion to dismiss under Fed. R. Civ. P.
12(b) pursuant to Rule III.C.2 of the Court’s Individual Rules, the parties request that the
deadline for Plaintiffs to submit a responsive letter be set for December 21, 2018.

       These are the parties’ first requests to modify the briefing schedule on Plaintiffs’ Motion
for Leave to Proceed Under Pseudonyms and to extend the deadline for Defendants to answer or
otherwise respond to the complaint.
      Case 1:18-cv-09936-LGS-SLC Document 43 Filed 11/09/18 Page 2 of 2




Honorable Lorna G. Schofield                                              -2-



                                         Respectfully submitted,

                                         KAPLAN HECKER & FINK LLP

                                         /s/ Roberta Kaplan
                                         Roberta Kaplan
                                         John Quinn
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                                         Alexander Rodney
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                                         /s/ David Spears
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                                         Cynthia Chen

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cc: All counsel (via ECF)
